
**42Upon consideration of the Joint Petition filed herein pursuant to Maryland Rule 19-736, and in light of Respondent's acknowledgement that he has violated Maryland Lawyer's Rules of Professional Conduct 1.4(a) and 5.3(a), it is this 1st day of September, 2016,
ORDERED, that Respondent, Keith Eric Timmons, be and he is hereby suspended from the practice of law in the State of **43Maryland for thirty (30) days, for violating Maryland Lawyers' Rules of Professional Conduct 1.4(a) and 5.3(a); and it is further,
ORDERED, that said suspension shall be effective on October 3, 2016; and it is further,
ORDERED, that, on the effective date of this Order, the Clerk of this Court shall remove the name of Keith Eric Timmons from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-742(a)and issue notice of such action in accordance with Maryland Rule 19-761(b).
